Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 1 of 72 PageID #: 510
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 2 of 72 PageID #: 511
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 3 of 72 PageID #: 512
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 4 of 72 PageID #: 513
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 5 of 72 PageID #: 514
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 6 of 72 PageID #: 515
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 7 of 72 PageID #: 516
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 8 of 72 PageID #: 517
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 9 of 72 PageID #: 518
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 10 of 72 PageID #: 519
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 11 of 72 PageID #: 520
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 12 of 72 PageID #: 521
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 13 of 72 PageID #: 522
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 14 of 72 PageID #: 523
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 15 of 72 PageID #: 524
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 16 of 72 PageID #: 525
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 17 of 72 PageID #: 526
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 18 of 72 PageID #: 527
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 19 of 72 PageID #: 528
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 20 of 72 PageID #: 529
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 21 of 72 PageID #: 530
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 22 of 72 PageID #: 531
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 23 of 72 PageID #: 532
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 24 of 72 PageID #: 533
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 25 of 72 PageID #: 534
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 26 of 72 PageID #: 535
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 27 of 72 PageID #: 536
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 28 of 72 PageID #: 537
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 29 of 72 PageID #: 538
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 30 of 72 PageID #: 539
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 31 of 72 PageID #: 540
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 32 of 72 PageID #: 541
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 33 of 72 PageID #: 542
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 34 of 72 PageID #: 543
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 35 of 72 PageID #: 544
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 36 of 72 PageID #: 545
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 37 of 72 PageID #: 546
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 38 of 72 PageID #: 547
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 39 of 72 PageID #: 548
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 40 of 72 PageID #: 549
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 41 of 72 PageID #: 550
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 42 of 72 PageID #: 551
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 43 of 72 PageID #: 552
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 44 of 72 PageID #: 553
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 45 of 72 PageID #: 554
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 46 of 72 PageID #: 555
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 47 of 72 PageID #: 556
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 48 of 72 PageID #: 557
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 49 of 72 PageID #: 558
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 50 of 72 PageID #: 559
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 51 of 72 PageID #: 560
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 52 of 72 PageID #: 561
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 53 of 72 PageID #: 562
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 54 of 72 PageID #: 563
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 55 of 72 PageID #: 564
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 56 of 72 PageID #: 565
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 57 of 72 PageID #: 566
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 58 of 72 PageID #: 567
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 59 of 72 PageID #: 568
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 60 of 72 PageID #: 569
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 61 of 72 PageID #: 570
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 62 of 72 PageID #: 571
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 63 of 72 PageID #: 572
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 64 of 72 PageID #: 573
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 65 of 72 PageID #: 574
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 66 of 72 PageID #: 575
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 67 of 72 PageID #: 576
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 68 of 72 PageID #: 577
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 69 of 72 PageID #: 578
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 70 of 72 PageID #: 579
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 71 of 72 PageID #: 580
Case 1:01-cr-01243-CBA   Document 626   Filed 12/20/05   Page 72 of 72 PageID #: 581
